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 7 Oxnard Forward, Inc.; and Starr
     Coalition for Moving Oxnard Forward
 8

 9                      UNITED STATES DISTRICT COURT
10               FOR THE CENTRAL DISTRICT OF CALIFORNIA
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12 MOBILIZE THE MESSAGE, LLC; ) Case No 2:21-cv-05115 VAP (JPRx)
     MOVING OXNARD FORWARD, )
13 INC.; and STARR COALITION           ) PRELIMINARY INJUNCTION
     FOR MOVING OXNARD                 ) APPEAL
14   FORWARD,                          )
                                       ) PLAINTIFFS MOBILIZE THE
15                         Plaintiffs, ) MESSAGE, LLC; MOVING
                                       ) OXNARD FORWARD, INC.; AND
16                    v.               ) STARR COALITION FOR
                                       ) MOVING OXNARD FORWARD’S
17   ROB BONTA, in his official        ) NOTICE OF APPEAL AND
     capacity as Attorney General of ) REPRESENTATION STATEMENT
18   California,                       )
                                       ) The Hon. Virginia A. Phillips
19                         Defendant. )
     ________________________________ )
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     TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
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        NOTICE IS HEREBY GIVEN that Plaintiffs Mobilize the Message,
22
     LLC, Moving Oxnard Forward, Inc., and Starr Coalition for Moving
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     Oxnard Forward hereby appeal to the United States Court of Appeals for
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     the Ninth Circuit from this Court’s order denying Plaintiffs’ motion for a
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     preliminary injunction [ECF No. 24] filed in this case on August 9, 2021
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     and entered in this case on August 10, 2021.
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     Notice of Appeal                      1        Case No. 2:21-cv-05115 VAP (JPRx)
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 1      Dated: August 10, 2021      Respectfully submitted,
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     Notice of Appeal                      2        Case No. 2:21-cv-05115 VAP (JPRx)
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 1                          REPRESENTATION STATEMENT
                             NINTH CIRCUIT RULE 3-2(B)
 2
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     Notice of Appeal                               Case No. 2:21-cv-05115 VAP (JPRx)
